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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Jinhyung Park,
                               Plaintiff,

                        v.                                           25-CV-3407 (DEH)

 Noem et al.,                                                              ORDER
                               Defendants.



DALE E. HO, United States District Judge:

        It is hereby ORDERED that counsel for all parties appear for a conference with the Court
on May 28, 2025 at 10:00 a.m. in Courtroom 905 of the Thurgood Marshall Courthouse, 40
Centre Street, New York, New York. Counsel must confer in advance of the conference and
submit a joint letter, no later than May 21, 2025, at 5:00 p.m., indicating whether the conference
is necessary and addressing how the Court should handle the present Complaint. If counsel do
not believe a conference is required, and that briefing is appropriate, counsel should propose a
briefing schedule (expedited or otherwise) in the joint letter. If counsel wish to adjourn the
conference to a later date, counsel shall submit a request to reschedule pursuant to this Court’s
Individual Rules and Practices.

        To preserve the Court’s jurisdiction pending a ruling in this matter, Plaintiff shall
not be removed from the United States unless and until the Court orders otherwise. See,
e.g., Local 1814, Intern. Longshoremen’s Ass’n, AFL-CIO v. New York Shipping Ass’n, Inc., 965
F.2d 1224, 1237 (2d Cir. 1992) (“Once the district court acquires jurisdiction over the subject
matter of, and the parties to, the litigation, the All Writs Act [28 U.S.C. § 1651] authorizes a
federal court to protect that jurisdiction” (cleaned up)); Garcia-Izquierdo v. Gartner, No. 04 Civ.
7377, 2004 WL 2093515, at *2 (S.D.N.Y. Sept. 17, 2004) (observing that, under the All Writs
Act, 28 U.S.C. § 1651, a district court “may order that a petitioner’s deportation be stayed . . .
when a stay is necessary to preserve the Court’s jurisdiction of the case”); Khalil v. Joyce, No. 25
Civ. 1935, ECF No. 9 (S.D.N.Y. Mar. 10, 2025) (barring the government from removing
petitioner from the United States until the Court could address his claim); cf. Michael v. I.N.S.,
48 F.3d 657, 661-62 (2d Cir. 1995) (holding that the All Writs Act provides a federal court of
appeals reviewing a final removal order with a basis to stay removal).

         All counsel are required to register promptly as filing users on ECF. All counsel must
familiarize themselves with the Court’s Individual Rules, which are available at
https://www.nysd.uscourts.gov/hon-dale-e-ho. Absent leave of Court obtained by letter-motion
filed before the conference, all pretrial conferences must be attended by the attorney who will
serve as principal trial counsel.

       If this case has been settled or otherwise terminated, counsel are not required to appear,
provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination
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is filed on the docket prior to the date of the conference, using the appropriate ECF Filing Event.
See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A, available at
http://nysd.uscourts.gov/ecf filing.php.


       SO ORDERED.

Dated: April 29, 2025
       New York, New York



                                                                       DALE E. HO
                                                                United States District Judge




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